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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION at FRANKFORT

CRIMINAL ACTION NO. 08-21-KSF

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                     OPINION & ORDER

LEONARD LAWSON and
CHARLES WILLIAM “BILL” NIGHBERT                                                      DEFENDANTS

                                        ***********

       This matter is before the Court on the motion of the Defendants to exclude portions of four

recorded conversations between Jim Rummage and Leonard Lawson. The Court, having, reviewed

the record and being otherwise sufficiently advised, will deny the motion.

       The defendants, Leonard Lawson (“Lawson”) and Charles William “Bill” Nighbert

(“Nighbert”) (collectively “Defendants”), ask the Court to order redaction of certain portions of

telephone conversations between Lawson and the United States’s cooperating witness, Jim

Rummage (“Rummage”). Defendants argue that the portions of the conversations should be

excluded because the statements: (1) constitute improper character evidence; (2) constitute hearsay

within hearsay; (3) are offered for an improper purpose, i.e. truth and not context; and (4) constitute

impermissible testimonial, out-of-court statements against Nighbert.

       First, Defendants argue that the recordings contain improper character evidence which must

be excluded pursuant to Federal Rule of Evidence 404(b). Specifically, Defendants argue that

Lawson’s statements in three segments of the recordings about a prior investigation and guilty plea

must be excluded. The Court previously ruled that evidence of a 1980 antitrust violation and a 1983

prior guilty plea entered by Mountain Enterprise, a company formerly owned by Lawson, is not
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admissible. Lawson’s own statements about those events, however, are admissible as res gestae, the

operative conduct constituting the crime charged in this case. These statements are evidence of

Lawson’s attempt to further the conspiracy by convincing Rummage to continue with his part in it.

Since Lawson’s statements about the prior violation and guilty plea are so inextricably intertwined

with the crime on trial, such that the proof of the former proves an element of the crime charged, his

statements are admissible. See United States v. Dudek, 560 F.2d 1288, 1294 (6th Cir. 1977). The

Defendants are entitled to a limiting instruction regarding the mention of the prior violation and

guilty plea if so requested.

       Second, Defendants argue that several portions of the Lawson/Rummage recordings contain

hearsay within hearsay and must be redacted. These statements fall into a couple of categories: (1)

Rummage’s statements about what the FBI said to him during its investigation; and (2) Rummage’s

statements about what Billings allegedly said to him during conversations between the two of them.

Rummage’s statements about what the FBI supposedly said to him during its investigation are not

offered for the truth. In fact, all parties agree that the FBI did not actually tell Rummage the things

that he claims in his conversation with Lawson. Rummage’s statements about what Billings

allegedly said to him are also admissible because they are not being offered for the truth. A limiting

instruction can sufficiently set the parameters for consideration of these statements.

       Third, Defendants argue that all of Rummage’s statements in the recordings that are offered

for the truth and not context should be redacted. The Court has examined each statement at issue

and finds that all of his statements on the recordings may be admitted as context. An instruction will

be given admonishing the jury that Rummage’s statements are for context only and may not be used

to prove the United States’s case. “Where such a limiting instruction has been given . . . courts have


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found that there is no violation of either the Confrontation Clause or the hearsay rules.” United

States v. Hobbs, 50 F.3d 11, 1995 WL 122786 *3 (6th Cir. Mar. 21, 1995)(table).

       Fourth, Defendants argue that admitting Lawson’s statements about Nighbert would violate

the Confrontation Clause of the United States Constitution. A non-testimonial statement is not

subject to Confrontation Clause scrutiny. United States v. Johnson, 581 F.3d 320, 325 (6th Cir.

2009). To determine if statements are testimonial, the Court asks “whether the declarant ‘intend[ed]

to bear testimony against the accused.’ This, in turn, depends on ‘whether a reasonable person in

the declarant’s position would anticipate his statement being used against the accused in

investigating and prosecuting the crime.’” Id. citing United States v. Cromer, 389 F.3d 662, 675 (6th

Cir. 2004). As the Court previously found, although Lawson may have been suspicious about

possibly being taped, “there is no indication that [he] intended to bear testimony against Nighbert

during conversations with Rummage. In addition, the Court is doubtful that a reasonable person in

Lawson’s . . . position would anticipate that [his] statements would later be used against Nighbert,

in a criminal investigation or prosecution.” (DE 264 at 8).

       Accordingly, IT IS ORDERED that the motion of the Defendants to exclude certain portions

of recorded conversations between Jim Rummage and Leonard Lawson [DE 518] is DENIED.

       This November 25, 2009.




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